

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-70,655-01






CALVIN RANDLE, Relator


v.


DALLAS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. F05-45625-T IN THE 283RD JUDICIAL DISTRICT COURT

FROM DALLAS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 283rd Judicial District Court of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order that designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
claims asserted in the application filed by Relator are not cognizable under Tex. Code Crim. Proc.
art 11.07, § 3; or stating that Relator has not filed an application for a writ of habeas corpus in Dallas
County. This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response. Such response shall be submitted within 30 days
of the date of this order.



Filed:   October 8, 2008

Do not publish	


